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                    8    BEST BUY STORES, L.P.
                    9                              UNITED STATES DISTRICT COURT
                10                               CENTRAL DISTRICT OF CALIFORNIA
                11
                         MICHAEL KARRER, and SANTIAGO                Case No. CV 11-07697 JAK (MRWx)
                12       ESTRADA, individuals, on behalf of
                         themselves, and all others similarly       DEFENDANT BEST BUY STORES,
                13       situated,                                  L.P.’S MEMORANDUM OF
                                                                    POINTS AND AUTHORITIES IN
                14                              Plaintiffs,         SUPPORT OF MOTION FOR
                                                                    SUMMARY JUDGMENT OR, IN
                15                        vs.                       THE ALTERNATIVE, MOTION
                                                                    FOR PARTIAL SUMMARY
                16       BEST BUY CO., INC., a Minnesota            JUDGMENT OF PLAINTIFFS’
                         Corporation authorized to do business in   CLAIMS
                17       the State of California,
                                                                    Date:        April 19, 2012
                18                              Defendants.         Time:        8:30 a.m.
                                                                    Ctrm.:       760 – 7th Floor
                19
                                                                    Complaint Filed:     July19, 2011
                20                                                  SAC filed:           February 6, 2012
                                                                    Trial Date:          None Set
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                    1    I.       INTRODUCTION
                    2             Defendant Best Buy Stores, L.P. (“Best Buy”) operates retail stores in
                    3    California that sell electronics, appliances, and other merchandise. Best Buy
                    4    provides its managers with paid vacation. In addition, it designates six holidays per
                    5    year – New Year’s Day, Memorial Day, Independence Day, Labor Day,
                    6    Thanksgiving, and Christmas Day. The stores are closed on Thanksgiving and
                    7    Christmas Day, but managers are paid for these days. With respect to the remaining
                    8    four designated holidays, Best Buy’s companywide, corporate policy on its intranet
                    9    web site provides that exempt managers will receive their regular salary for the week
                10       during which the holiday occurs, regardless of whether they work the holiday.
                11                Plaintiffs Michael Karrer (“Karrer”) and Santiago Estrada (“Estrada”)
                12       (collectively, “Plaintiffs”) were both employed as exempt store managers.1 Karrer
                13       was the General Manager (“GM”) for Best Buy’s Corona store but was suspended
                14       in May 2011 for violating Best Buy’s employee discount policy and subsequently
                15       demoted to an assistant manager position. He remains employed by Best Buy, but
                16       has not worked since early May 2011. Estrada was terminated in May 2011 for
                17       inappropriate conduct.
                18                Plaintiffs filed the instant lawsuit alleging the following six causes of action
                19       against Best Buy: (1) failure to pay wages; (2) failure to timely pay wages owed
                20       upon termination; (3) maintaining an illegal vacation policy; (4) breach of contract;
                21       (5) unfair competition; and (6) penalties pursuant to California’s Private Attorney
                22       General Act (“PAGA”). All six causes of action are based on a memo (the
                23       “Scheduling Memo”) that was never provided to either Plaintiff or the stores where
                24       either Plaintiff worked. The Scheduling Memo was intended as a tool that stores
                25       could use to schedule managers who worked on one or more of the four designated
                26       holidays that the stores were open. Each claim is based on or derivative of
                27
                         1
                           Karrer is currently employed by Best Buy but is out on workers’ compensation
                28       leave.
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                    1    California Labor Code Section 227.3 (“Section 227.3”) and hinge on whether: (1)
                    2    the Scheduling Memo was a contract; and (2) if so, whether it provided for
                    3    “vacation” pursuant to Section 227.3. See SAC ¶¶ 22, 30, 40, 44, 50, 94.
                    4             Plaintiffs admit that they had no knowledge of the Scheduling Memo and/or
                    5    never relied on the Scheduling Memo before a company-designated holiday took
                    6    place. Thus, the Scheduling Memo is not a contract or a policy that can form the
                    7    basis for a claim by Plaintiffs, because a contract based on an employment policy
                    8    can only exist if there is evidence of “knowledge, reliance and mutual
                    9    understanding of the policies in question.” Modafferi v. General Instrument Corp.,
                10       1991 WL 527677, at *6 (S.D. Cal. Feb. 21, 1991). Accordingly, summary
                11       judgment should be granted on each of Plaintiffs’ claims.
                12                Moreover, even if the Scheduling Memo were a policy or contract (which it
                13       is not), the benefit it provides is not vacation within the meaning of Section 227.3.
                14       The benefit stated by the Scheduling Memo does not accrue over time, and it is
                15       conditioned on the occurrence of a specific event. Thus, it is not vacation: “[P]aid
                16       time off for state or federal holidays” is not “vacation” under Section 227.3 because
                17       it is conditioned upon the occurrence of a specific event. Paton v. Advanced Micro
                18       Devices, Inc., 197 Cal. App. 4th 1505, 1519 (2011). Thus, summary judgment is
                19       appropriate for this separate and distinct reason.
                20                Finally, Karrer’s claims are not ripe for adjudication because he is a current
                21       Best Buy employee. Section 227.3 claims only apply to former employees. His
                22       claims, therefore, all fail as a matter of law.
                23                Based on the foregoing reasons, the Court should grant Best Buy’s motion
                24       for summary judgment in its entirety or, in the alternative, partial summary
                25       judgment.
                26
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                    1    II.      SUMMARY OF FACTS
                    2             A.      Background
                    3             Best Buy is a specialty retailer of consumer electronics, home-office
                    4    products, entertainment software, appliances, and related services. Headquartered
                    5    in Minnesota, Best Buy operates stores across the country and organizes them by
                    6    Territories and Districts. Best Buy provides all of its employees with training upon
                    7    hire which include a review of company policies that are available on Best Buy’s
                    8    intranet website eGO. Uncontroverted Fact (“UF”) 1. Specifically, Best Buy’s
                    9    official corporate policies are stated on eGO. UF 2. All employees have access to
                10       eGO and are aware that the company’s Human Resource policies can be found
                11       there. UF 3. Also, each District has a Human Resource Manager (“DHRM”) to
                12       provide employees with live HR support and assist stores with any personnel or
                13       policy issues. Bonura Dec., ¶ 2. A District generally embraces 10-12 stores.
                14                Each Best Buy retail store has a management staff consisting of a GM and
                15       three or more assistant managers. Assistant manager positions include product
                16       process managers (“PPMs”) who are responsible for warehouse and inventory
                17       functions, operations managers (“OMs”) who are generally responsible for store
                18       operations, and customer solutions managers (“CSMs”) who are responsible for
                19       sales associates and the sales floor.
                20                Each retail store is responsible for developing its own manager schedule for
                21       staffing the store with manager coverage. Because the management staff is exempt
                22       from overtime requirements, Best Buy places no constraints on how a store elects to
                23       staff its managers, as managers get paid the same weekly salary regardless of the
                24       number of hours/days that they work. A store may schedule a manager for six days
                25       one week and four days another week. Similarly, a store may schedule a manager
                26       who works on a company-designated holiday one week to work only four days on
                27       another week. Regardless, the manager gets paid the same amount – his/her weekly
                28       salary – regardless of whether the manager works six days or four days.
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                    1             B.      Plaintiffs’ Employment with Best Buy
                    2             Estrada was an exempt manager with Best Buy from approximately February
                    3    2008 through his termination in or around May 2011. UF 4. Estrada was first hired
                    4    in or around 2001 as an hourly employee. In or around February 2008, Estrada was
                    5    transferred to Best Buy’s Victorville store in District 63 and promoted to an exempt
                    6    PPM position. Best Buy stores went through a re-alignment of districts in 2009,
                    7    and the Victorville store was moved to District 24. Estrada was transferred again in
                    8    or around February 2010 to Best Buy’s West Covina location, which is also in
                    9    District 24 where he worked as a PPM. Estrada was terminated by Best Buy in
                10       May 2011 for inappropriate conduct.
                11                Karrer has been an exempt manager with Best Buy from approximately
                12       January 2008. UF 5. Karrer began working as an exempt assistant manager at Best
                13       Buy’s Corona store in District 63. Karrer was promoted to GM of the Corona Store
                14       in or around June 2009. Karrer remained in this position until he was suspended for
                15       violating Best Buy’s employee discount policy in May 2011 and was demoted to an
                16       assistant manager position. Soon thereafter, Karrer filed a workers’ compensation
                17       claim for stress. He has been out on a leave of absence since May 2011. UF 6.
                18       Karrer remains employed with Best Buy. UF 36.
                19                C.      Best Buy’s Corporate Policy Regarding Holiday Pay for Managers
                20                As discussed above, Best Buy’s company policies are provided through its
                21       intranet website eGO. UF 1. Best Buy employees, including Plaintiffs, are notified
                22       and aware that the company’s corporate policies can be found on eGO. UF 3. The
                23       introduction to the Best Buy policies contained on eGO states as follows:
                24                Policies are written expressions of our company values and
                                  expectations and serve as the guidelines for all of us to follow when
                25
                                  working at Best Buy. Each of us is expected to read these policies so
                26                all of us, as employees, know what’s expected of every member of the
                                  Best Buy team. Company policies are not a contract but rather
                27
                                  establish reasonable expectations of each of us and are interpreted by
                28                leadership at its discretion. Policies may be withdrawn or changed at
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                    1             any time with or without notice due to a changing business climate or
                    2             other reasons.

                    3    Bonura Dec., ¶ 3.
                    4             The eGO policies include a policy titled “Holiday Pay,” which provides the
                    5    following:
                    6             If you are a full-time employee you are eligible to receive holiday pay
                                  in accordance with this policy for the following Company-designated
                    7             holidays:
                    8                         New Year’s Day
                    9                         Memorial Day
                                              Independence Day
                10
                                              Labor Day
                11                            Thanksgiving Day (retail stores closed)
                12                            Christmas Day (retail stores closed)
                                  […]
                13
                                  Holiday Pay for Exempt Employees:
                14                If you are an exempt employee, you will receive your regular salary
                15                for the week in which a Company-designated holiday is observed.
                16       UF 7.2
                17                Karrer and Estrada both testified that they were aware of this corporate
                18       policy. UF 8. Moreover, they understood that they would receive their weekly
                19       salary during the week of a company-designated holiday, regardless of whether they
                20       worked on the holiday. UF 9. Neither worked on Thanksgiving Day or Christmas
                21       Day, because the stores were closed on these days. UF 19. Neither can remember
                22       what, if any, other holidays they worked.
                23                Karrer did not work on Memorial Day in 2011 because he was on leave at
                24       that point. UF 20. Karrer does not know if he worked on New Year’s Day in 2011.
                25       UF 21. Karrer is not 100 percent sure whether he worked on Labor Day in 2011.
                26       UF 22. Karrer does not know whether he worked on Fourth of July in 2010. UF
                27
                         2
                          Best Buy’s official vacation policy is also located on eGO and entitled, “Vacation
                28       Policy.” UF 35.
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                    1    23. Karrer believes he worked on Memorial Day in 2010 (UF 24), but does not
                    2    know whether he worked on any other holiday. UF 25-33. Estrada does not
                    3    remember what holidays, if any, he worked as an assistant manager. UF 34.
                    4             D.      The Scheduling Memo That Forms the Basis for Plaintiffs’ Claims
                    5             Karrer bases his claims on the written Scheduling Memo that he first saw
                    6    sometime in February of 2011. UF 10, 13. The Second Amended Complaint
                    7    (“SAC”) asserts that Estrada bases his claim on the same Scheduling Memo.
                    8    Estrada, however, never saw the Scheduling Memo and as of his deposition, had no
                    9    knowledge of its contents. UF 16.
                10                As indicated above, each store decides how to schedule its management staff.
                11       Managers receive their same salary regardless of the number of days and hours they
                12       work. UF 9. As a GM, Karrer sought guidance from his DHRM regarding how he
                13       should handle scheduling when managers worked six days, but he did not get any
                14       answers. Karrer Depo., 32:7-10.
                15                Sometime in 2006, the Scheduling Memo was prepared and distributed to
                16       DHRMs in California. The Scheduling Memo was titled “Holiday Pay Policy for
                17       Retail Employees.” The DHRMs in charge of the Districts where Estrada’s and
                18       Karrer’s stores were located received the Scheduling Memo and read it as a tool
                19       that they could distribute to stores if they wanted to send it. Shurkin Dec., ¶ 4;
                20       Valencia Dec., ¶ 3. The DHRMs in charge of the Districts for Plaintiffs’ stores,
                21       however, did not distribute it to anyone when they received it. Shurkin Dec., ¶ 5;
                22       Valencia Dec., ¶ 4.
                23                On February 9, 2011, the DHRM for Karrer’s District sent an email to
                24       another GM of another store in his District to which the Scheduling Memo was
                25       attached. UF 10. The Scheduling Memo included the following:
                26                Exempt managers will receive one paid holiday, designated in advance
                27                of each of the following Company designated holidays:
                28
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                    1                          New Year’s Day
                    2                          Memorial Day
                                               Independence Day
                    3
                                               Labor Day
                    4                          Thanksgiving Day
                    5                          Christmas Day

                    6             The date of the holiday will be determined by _______ (insert title of
                                  employee with scheduling duties) and scheduled within 30 days before
                    7             or after the Company holiday. If the holiday is not used on the
                    8             designated day, it will be lost. Unused holidays will not be paid out
                                  upon termination of employment.
                    9
                         UF 10, 13. The Scheduling Memo was not a formal corporate policy, not available
                10
                         through the eGO website, and never distributed to all Best Buy’s employees (or
                11
                         managers). UF 11. The Scheduling Memo sent to DHRMs, but it was left up to the
                12
                         DHRM’s discretion as to what to do with it. Bonura Dec., ¶ 8.
                13
                                  E.      Plaintiffs’ Knowledge of the Scheduling Memo
                14
                                  Karrer was the GM of his store. While Karrer was working, the Scheduling
                15
                         Memo was not distributed to Karrer or the store where he worked. UF 12. Karrer
                16
                         did see the Scheduling Memo, however, in or around February 2011 because
                17
                         another store’s GM forwarded it to him.3 UF 13. Karrer, however, is unaware of
                18
                         any store following the guidelines set forth in the Scheduling Memo. UF 37.
                19
                         Karrer was suspended in or around May 2011 and went out on leave soon after.
                20
                         There were no company-designated holidays between the time Karrer learned of the
                21
                         Scheduling Memo in February of 2011and when he went out on leave in May of
                22
                         2011 (i.e. Karrer went on leave before Memorial Day 2011). UF 14.
                23
                                  The Scheduling Memo was never distributed to any store in which Estrada
                24
                         was employed or to Estrada personally. UF 15. Accordingly, Estrada never saw
                25
                         the Scheduling Memo or had any knowledge of it during his employment. UF 16.
                26
                27
                         3
                           Karrer was aware, however, of Best Buy’s corporate Holiday Policy on eGO prior
                28       to this. Karrer Depo., 38:4-39:6, Ex 2.
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                    1    He only learned about it from Karrer, when Karrer asked Estrada to meet with him
                    2    months after Estrada’s employment was terminated. UF 17. Indeed, when asked
                    3    about the contents of the policy on which he based his claims, Estrada testified that
                    4    the policy entitled him to pay for working on a holiday above and beyond his
                    5    salary. UF 18. He never saw such a policy or heard about such a policy while
                    6    employed; rather, Karrer merely told him that such a policy existed. UF 18.
                    7             F.      Relevant Procedural Background
                    8             On July 19, 2011, Plaintiffs filed their initial complaint against Best Buy Co.,
                    9    Inc., alleging five causes of action. Plaintiffs filed a First Amended Complaint one
                10       month later on August 16, 2011 and added a Sixth Cause of Action. Plaintiffs
                11       dismissed Best Buy Co., Inc., with prejudice, in January 2012 and filed a SAC on
                12       February 7, 2012 against Defendant Best Buy Stores, L.P. The SAC includes the
                13       following six causes of action: (1) failure to pay vacation wages in violation of
                14       Labor Code §§ 201, 203, 216, 218.5, and 227.3; (2) failure to timely pay wages
                15       owed upon termination in violation of Labor Code §§ 201, 202, and 203; (3)
                16       violation of Labor Code § 227.3 for maintaining and implementing a vacation
                17       policy that provides for the forfeiture of unused vacation; (4) breach of contract; (5)
                18       unfair competition; and (6) violation of PAGA.
                19       III.     SUMMARY JUDGMENT STANDARD
                20                Summary judgment is appropriate if there is “no genuine dispute as to any
                21       material fact” and the moving party is “entitled to a judgment as a matter of law.”
                22       Fed. R. Civ. P. 56(a). To satisfy this burden, it is sufficient for Best Buy to point to
                23       an absence of evidence supporting an essential element of Plaintiffs’ claims. See
                24       Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986); Fairbank v. Wunderman Cato
                25       Johnson, 212 F.3d 528, 532 (9th Cir. 2000) (“showing” requires no more than
                26       “pointing out through argument” the absence of evidence); Nissan Fire & Marine
                27       Ins. Co., Ltd. v. Fritz Cos., 210 F.3d 1099, 1105 (9th Cir. 2000) (summary judgment
                28       burden satisfied by showing an absence of evidence to support an essential element
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                    1    of a claim); Bryant v. Ochoa, 2010 WL 5287540, at *17 (S.D. Cal. November 19,
                    2    2010) (moving party satisfies burden “by merely pointing out that there is an absence
                    3    of evidence to support an essential element of the non-moving party’s claim”).
                    4             Plaintiffs cannot defeat summary judgment by merely asserting conclusory
                    5    statements or discrediting Best Buy’s evidence. Fed. R. Civ. P. 56(c). Pointing to a
                    6    “mere scintilla” of evidence also is not sufficient. See Anderson v. Liberty Lobby,
                    7    Inc., 477 U.S. 242, 252 (1986). Rather, they “must present affirmative evidence.”
                    8    Id. at 257. If the evidence in the record “could not lead a rational trier of fact to
                    9    find for the nonmoving party, there is no ‘genuine issue for trial,’” and the motion
                10       should be granted. Matsushita Elec. Indus. Co. v. Zenity Radio Corp., 475 U.S.
                11       574, 587 (1986). Here, Plaintiffs cannot present specific admissible evidence that
                12       establishes the essential elements of their claims.
                13       IV.      LEGAL ARGUMENT
                14                A.      The Existence of a Contract Is Essential to Each of Plaintiffs’
                15                        Claims
                16                Each one of Plaintiffs’ causes of action hinge on the existence of a contract
                17       between the parties. Specifically, all of Plaintiffs’ claims depend on the premise
                18       that the Scheduling Memo was a contract or agreement between each Plaintiff and
                19       Best Buy. Plaintiffs’ Fourth Cause of Action for breach of contract is the most
                20       obvious of these in which Plaintiffs claim that Best Buy allegedly breached the
                21       Scheduling Memo by not providing Plaintiffs with “floating holidays” and
                22       accordingly seek “damages equal to the compensation lost.” SAC ¶¶ 44, 46.
                23                The remaining causes of action are all based on (or are derivative claims
                24       related to) Section 227.3, which requires an employer to pay employees unused
                25       vested vacation upon termination if a contract providing paid vacation exists. See
                26       Cal. Lab. Code § 227.3. Thus, Plaintiffs’ First, Second, Third, Fifth, and Sixth
                27       Causes of Action all require the existence of a contract under Section 227.3.
                28
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                    1    Plaintiffs allege that the Scheduling Memo forms the basis for their Labor Code
                    2    claims. See SAC ¶¶ 15, 20, 22, 30, 38, 42, 50, 94.
                    3             Because Plaintiffs never knew about the Scheduling Memo prior to working
                    4    on a company-designated holiday, they could not have agreed with Best Buy that
                    5    they would schedule another day off or enjoyed the benefits of a “policy” never
                    6    provided to them. Thus, no contract ever existed between Plaintiffs and Best Buy
                    7    that entitled Plaintiffs to schedule a day off when working a holiday. The absence
                    8    of a contract or agreement between Plaintiffs and Best Buy obligating Best Buy to
                    9    schedule Plaintiffs for a day off if they worked on a company-designated holiday
                10       negates all of Plaintiffs’ causes of action.
                11                Even if an agreement existed, however, Plaintiffs’ Labor Code claims would
                12       all fail, because holidays do not constitute vacation pursuant to Section 226.7.
                13       Plaintiffs’ First Cause of Action for failure to pay wages is premised on the theory
                14       that the Scheduling Memo provided Plaintiffs with “vacation” under Section 227.3,
                15       and Best Buy failed to pay Plaintiffs “compensation for such unused vacation.
                16       SAC ¶¶ 20, 22. Holidays, however, do not constitute vacation. Plaintiffs’ Second
                17       Cause of Action for failure to pay wages owed upon termination is essentially
                18       identical to the first as it is also based on the assumption that the Scheduling Memo
                19       is a contract that provides “vacation” under Section 227.3, which it does not. SAC
                20       ¶ 30. Plaintiffs’ Third Cause of Action is an express claim under Section 227.3 and
                21       is therefore duplicative of their First and Second Causes of Action. Finally,
                22       Plaintiffs’ Fifth Cause of Action for unfair competition and Sixth Cause of Action
                23       for penalties pursuant to PAGA are derivative claims both based upon Best Buy’s
                24       alleged violation of Section 227.3. See SAC ¶¶ 50, 52, 92, 94.
                25                As discussed below, summary judgment should be granted as to each claim
                26       because the Scheduling Memo never created a contract between the parties and did
                27       not provide “vacation” pursuant to Section 227.3
                28
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                    1             B.      Plaintiffs’ Fourth Cause of Action for a Breach of Contract Fails
                    2             In California, “[t]he standard elements of a claim for breach of contract are
                    3    ‘(1) the contract, (2) plaintiff’s performance or excuse for nonperformance, (3)
                    4    defendant’s breach, and (4) damage to plaintiff therefrom.’” Abdelhamid v. Fire
                    5    Ins. Exch., 182 Cal. App. 4th 990, 999 (2010) (quoting Wall Street Network, Ltd. v.
                    6    New York Times Co., 164 Cal. App. 4th 1171, 1178 (2008)); accord Metcalf v.
                    7    Drexel Lending Group, 2008 WL 4748134, at *4 (S.D. Cal. Oct. 29, 2008).
                    8    Plaintiffs’ breach of contract claim fails because they cannot show a contract
                    9    existed, that it was breached, or that they were damaged by any alleged breach.
                10       Formation of a contract requires an offer and acceptance. Donovan v. RRL Corp.,
                11       26 Cal. 4th 261, 270-71 (2001). An acceptance requires knowledge of the offer. 1
                12       Witkin, Summary of California Law, Contracts § 181 (10th ed. 2005). Absent
                13       knowledge of an offer, no acceptance can be made and no contract formed.
                14       Weddington Prod., Inc. v. Flick, 60 Cal. App. 4th 793, 811 (1998) (holding that “if
                15       there is no evidence establishing a manifestation of assent to the same thing by both
                16       parties, then there is no mutual consent to contract and no contract formation”).
                17                        1.    Plaintiff’s Breach of Contract Claim Fails Because the
                18                              Scheduling Memo Is Not a Contract
                19                “[W]here the undisputed facts negate the existence . . . of the contract
                20       claimed, summary judgment is proper.” Guz v. Bechtel Nat., Inc., 24 Cal. 4th 317,
                21       337 (2000). Employer policies can constitute an express or implied contract where
                22       the parties expressly agree that the guidelines or policies govern the employment
                23       relationship, or there is some manifestation of mutual understanding. Foley v.
                24       Interactive Data Corp., 47 Cal. 3d 654, 675 n.20 (1988) (unilaterally promulgated
                25       written guidelines, such as an employee handbook or policy, constitute an express
                26       contract only if the parties expressly agreed that the guidelines or policies governed
                27       their relationship); Kashmiri v. Regents of Univ. of Cal., 156 Cal. App. 4th 809, 827
                28       (2007); Binder v. Aetna Life Ins. Co., 75 Cal. App. 4th 832, 850 (1999) (in order to
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                    1    form an express contract, a manifestation of mutual assent is required); Hillsman v.
                    2    Sutter Community Hosp., 153 Cal. App. 3d 743, 753 (1984) (policies “may form
                    3    part of an implied contract of employment if the employer and employee had a
                    4    mutual understanding that the rules or procedures would apply to the employee”).
                    5             Because “[m]utuality of consent is essential to the formation of a contract[,]
                    6    ... [an employee’s] lack of knowledge of or reliance on the policy during his
                    7    employment belies the existence of such consent.” Pettis v. Sundstrand Corp.,
                    8    1994 WL 283952, at *1 (9th Cir. 1994) (emphasis added). Accordingly, a contract
                    9    based on an employment policy can only exist if there is evidence of “knowledge,
                10       reliance and mutual understanding of the policies in question.” Modafferi, 1991
                11       WL 527677, at *6; see Bulman v. Safeway, Inc., 27 P.3d 1172, 1174-75 (Wash.
                12       2001) (“‘An employer is bound only by promises upon which the employee
                13       justifiably relied.’ Thus, … as a matter of law, there is not an enforceable promise
                14       of specific treatment in specific circumstances ‘where the employee did not know
                15       about the “promise” until after he was discharged.’ Such a promise could not have
                16       been justifiably relied upon.”).
                17                In Pettis, the Ninth Circuit affirmed summary judgment, dismissing the
                18       plaintiff’s claim that his termination breached the employer’s policy because the
                19       plaintiff had no knowledge of the policy and, therefore, could not rely upon it:
                20                To be sure, California employment law recognizes that an employee’s
                                  allegation that an employer has breached its own termination policies
                21
                                  and procedures “may be sufficient to state a cause of action for breach
                22                of an employment contract.” However, Pettis has failed to allege or
                                  produce any evidence that he knew about the Sundstrand Division
                23
                                  Policy before he was fired, nor did he show that he relied in any way
                24                upon the policy.
                25       Pettis, 1994 WL 283952, at *1 (emphasis added).
                26                Similarly, in Modafferi, the district court granted summary judgment on an
                27       employee’s breach of contract claim that alleged his termination violated express
                28       and implied promises derived from the employers’ policy manual. Modafferi, 1991
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                    1    WL 527677, at *5-*6. In doing so, the court relied, in part, on the employee’s
                    2    testimony that he did not become aware of the policies on which he based his claim
                    3    until a year into his employment. Id.
                    4             Here, the only policy about which Estrada had any knowledge was the
                    5    official Best Buy policy available on eGO. UF 8, 15-16. This policy provided that
                    6    Estrada would “receive your regular salary for the week in which a Company-
                    7    designated holiday is observed.” UF 7. Similarly, Karrer testified that he was fully
                    8    aware of the eGO policy. UF 8. Estrada and Karrer received amounts equal to
                    9    their full salary for every week that a company-designated holiday was observed,
                10       regardless of whether they worked on the holiday. UF 9. Thus, Best Buy fully
                11       complied with its corporate policy regarding holiday pay for exempt employees.
                12                Rather than the actual Best Buy official holiday pay policy stated on the eGO
                13       system, Plaintiffs assert that they are entitled to benefits under the Scheduling
                14       Memo that they never received or knew about prior to working a company-
                15       designated holiday. Estrada testified that he had no idea the Scheduling Memo ever
                16       existed during his employment with Best Buy. UF 16. No contract existed
                17       between him and Best Buy because there was no “knowledge, reliance and mutual
                18       understanding of the policies in question.” Estrada was never offered the terms and
                19       conditions in the Scheduling Memo (UF 15), and he never knew about them. UF
                20       16. Thus, he could not have accepted the terms and conditions in the Scheduling
                21       Memo and no contract (implied or express) could have ever existed during his
                22       employment.
                23                Likewise, Karrer testified that he was unaware that the Scheduling Memo
                24       existed until February 2011. UF 13. Karrer subsequently took a leave of absence
                25       in May 2011, prior to any Best Buy company-designated holidays. UF 6, 14. Thus,
                26       even if a contract could be said to have been formed by Karrer’s receipt of the
                27       Scheduling Memo in February 2011, he never became entitled to benefits as he
                28
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                    1    never worked on a company-designated holiday after his receipt of the Scheduling
                    2    Memo. UF 14.
                    3             Plaintiffs’ breach of contract claim therefore fails as a matter of law because
                    4    Plaintiffs cannot establish the existence of a contract entitling them to a day off if
                    5    they worked on a company-designated holiday at the time they worked on a
                    6    company-designated holiday.4
                    7                     2.   Plaintiffs’ Breach of Contract Claim Also Fails Because
                    8                          Plaintiffs Have No Damages
                    9             “A cause of action for breach of contract requires proof of . . . damages . . . .”
                10       Hood v. Hartford Life & Accident Ins. Co., 2009 WL 453115, at *2 (E.D. Cal. Feb.
                11       23, 2009). And, because “[d]amages are an essential element of a breach of
                12       contract cause of action, [] without them [a] plaintiff’s cause of action cannot
                13       survive.” Id. at *3. California courts have held that for a breach of contract claim,
                14       “the measure of damages is ‘the amount which will compensate the party aggrieved
                15       for all the detriment proximately caused thereby’ . . . provided the damages are
                16       ‘clearly ascertainable in both their nature and origin.’” Erlich v. Menezes, 21 Cal.
                17       4th 543, 550 (1999) (quoting Cal. Civ. Code §§ 3300, 3301); see also Restatement
                18       (Second) of Contracts § 352 (stating that contract damages “are not recoverable for
                19       loss beyond an amount that the evidence permits to be established with reasonable
                20       certainty”).
                21                Assuming that the Scheduling Memo was a contract between the parties
                22       (which it is not), Plaintiffs allege that Best Buy breached that contract by failing to
                23       schedule them for a day off when they worked on a company-designated holiday.
                24       See SAC ¶ 44. In particular, Plaintiffs plead that their damage for this alleged
                25       breach is “compensation lost” for having to work on company-designated holidays.
                26       See id. ¶ 46. This argument is nonsensical. It is undisputed that Plaintiffs are
                27
                         4
                          Notably, neither Karrer nor Estrada can recall if they actually worked on any
                28       company-designated holidays. See UF 19-34.
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                    1    exempt managers (UF 4-5) and are therefore paid the same amount per week
                    2    regardless of whether they worked on a company-designated holiday. UF 9.
                    3    According to the Scheduling Memo, holidays do not accrue and are not paid out.
                    4    Consequently, even if Plaintiffs worked on a designated holiday, Plaintiffs would
                    5    not be entitled to any additional compensation (i.e., damages) because they are
                    6    exempt managers who get paid the same amount regardless of how many hours or
                    7    days a week they work. If they had taken a holiday they would have been paid the
                    8    same amount as they were paid; under no circumstances could they have been paid
                    9    more than the amount they were actually paid. Thus, they could not have suffered
                10       any monetary damage by an alleged failure to schedule them for a holiday.
                11                Moreover, neither Karrer nor Estrada can identify any holiday on which they
                12       worked. UF 19-34. Any claim of damages by Plaintiffs would be based on nothing
                13       more than pure speculation and conjecture. In short, Plaintiffs cannot offer
                14       evidence to establish with reasonable certainty both the occurrence and extent of
                15       the number of holidays they worked. Because Plaintiffs lack evidence to prove the
                16       essential damage element of their breach of contract claim, the Court should grant
                17       Best Buy’s summary judgment on this cause of action.
                18                C.      Plaintiffs’ First Cause of Action for Failure to Pay Wages Fails
                19                Plaintiffs’ First Cause of Action is quite difficult to decipher. It cites Labor
                20       Code Section 216, which is a criminal statute that cannot form the basis for a civil
                21       claim. The cause of action appears to assert the following: (1) company-
                22       designated holidays are vacation days (SAC ¶ 15); (2) vacation days are wages
                23       (SAC ¶ 20); and therefore (3) failure to schedule company-designated holidays
                24       somehow deprives an employee of wages. This claim fails for two separate and
                25       distinct reasons. First, there was no agreement between Best Buy and Plaintiffs for
                26       Plaintiffs to be scheduled for a day off if they worked a company-designated
                27       holiday. Second, even if such an agreement existed, holidays are not wages and
                28       failure to take a holiday cannot form the basis for a wage claim.
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                    1                     1.   No Agreement Obligated Best Buy to Schedule Plaintiffs for
                    2                          a Day Off If They Worked a Company-Designated Holiday

                    3             Plaintiffs’ First Cause of Action is premised on the allegation that Plaintiffs
                    4    were entitled to a “floating holiday.” SAC ¶ 20. The only basis for this entitlement
                    5    alleged by the SAC is the Scheduling Memo. SAC ¶ 15. The Scheduling Memo,
                    6    however, could not create any benefit to Plaintiffs or obligation by Best Buy
                    7    because Best Buy never provided the Scheduling Memo to Plaintiffs or otherwise
                    8    made them aware of its terms prior to any holiday. Indeed, Plaintiffs were not
                    9    aware of the Scheduling Memo or any of its terms prior to working on a holiday.
                10       Thus, Plaintiffs cannot show that they were ever entitled to a “floating holiday”
                11       pursuant to the Scheduling Memo in the first instance. See, e.g., Pettis, 1994 WL
                12       283952, at *1; Modafferi, 1991 WL 527677, at *5-*6; Foley, 47 Cal. 3d at 675
                13       n.20; Hillsman, 153 Cal. App. 3d at 753; see also Cal. Lab. Code § 227.3 (which
                14       requires the existence of a contract or policy between the parties).
                15                        2.   Even If the Scheduling Memo Provided a Benefit to
                16                             Plaintiffs, the Benefit Does Not Constitute Vacation
                17                Employment benefits such as sick leave and holiday pay are a matter of
                18       contract between an employee and employer and the benefits may be taken only
                19       pursuant to the terms of the agreement. See Paton v. Advanced Micro Devices, Inc.,
                20       197 Cal. App. 4th 1505, 1519 (2011) (distinguishing conditional time off benefits
                21       that need only be taken pursuant to their terms from vacation). Here, the purported
                22       “contract,” the Scheduling Memo, states that “if the holiday is not used on the
                23       designated day, it will be lost” and that “unused holidays will not be paid out upon
                24       termination.” Thus, pursuant to the alleged agreement, no amounts could possibly
                25       be owed to Plaintiffs under the agreement at issue.
                26                Plaintiffs, however, endeavor to recharacterize holidays as vacation in an
                27       effort to take advantage of Section 227.3, which invalidates vacation agreements
                28       that result in a forfeiture of earned vacation. Applicable law, however, makes clear
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                    1    that where, as here, a company has a separate vacation policy (UF 35) and time off
                    2    is conditioned upon the occurrence of a specific event, the paid time off is not
                    3    vacation. If the time off is not vacation, it is perfectly legal for an employer to
                    4    condition the time off on the occurrence of an event and for the employee to lose
                    5    the time off benefit if the event does not occur.
                    6             Both the California Division of Labor Standards Enforcement (“DLSE”) and
                    7    courts have distinguished between benefits that are earned only on the occurrence
                    8    of events and vacation that is earned as an employee works and cannot be forfeited.
                    9    In Paton, the California Court of Appeals recently explained the distinction
                10       between “vacation” that cannot be forfeited and other types of paid time off:
                11                “Vacation is [] different from paid time off that is conditioned upon
                                  the occurrence of a specific event or granted for a particular purpose.
                12
                                  For example, some employers give paid time off for state or federal
                13                holidays. The right to this type of time off does not vest with day-to-
                                  day employment; it vests upon the occurrence of the holiday. . . .
                14
                                  [W]ith these conditional types of leave, the employee is typically
                15                expected to use the leave for the identified purpose. But with vacation,
                                  the employee may use the time off for any purpose.”
                16
                17       Paton, 197 Cal. App. 4th at 1519 (emphasis added). The court then set three
                18       conditions for a determination of what constitutes vacation that cannot be forfeited:
                19       (1) it is paid time off that accrues in proportion to the length of the employee’s
                20       service; (2) it is not conditioned upon the occurrence of any event or condition; and
                21       (3) no conditions are imposed on the employee’s use of the time away from work.
                22       Id.; see also Request for Judicial Notice (“RJN”), Ex. A, DLSE Opinion Letter
                23       2003.05.21 (opining that a policy that provides for time off when specifically taken
                24       in conjunction with some event, for example specified holidays, is not vacation that
                25       must be paid out if not used); RJN, Ex. B, DLSE Enforcement Policies &
                26       Interpretations Manual § 15.1.12 (distinguishing vacation from the right to take
                27       time off that is tied to a specific event or chain of events).
                28
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                    1             Here, Plaintiffs cannot establish either of the first two elements necessary to
                    2    show that the Scheduling Memo sets forth a “vacation” policy. First, the time off
                    3    for a company-designated holiday does not accrue in proportion to the employee’s
                    4    service. A manager who begins employment on the day before a designated
                    5    holiday is entitled to the same benefit (one day off) as an employee who has worked
                    6    for twenty years. Second, the benefit is conditioned on the occurrence of a specific
                    7    event – the occurrence of the company-designated holiday (i.e., New Year’s Day,
                    8    Memorial Day, July 4th, and Labor Day). See Paton, 197 Cal. App. 4th at 1519
                    9    (“paid time off for state or federal holidays” does not constitute vacation under
                10       Section 227.3 (emphasis added)). Under the Scheduling Memo (had it applied),
                11       managers were expected to either take the designated holidays off or if they worked
                12       on one of these days, they were expected to take a day off within a 30-day window
                13       of these holidays. This time off was “conditioned upon the occurrence of [the]
                14       specific [holiday]” and “granted for [that] particular purpose.” Id. Accordingly, the
                15       paid time off for the holidays delineated in the Scheduling Memo is not “vacation”
                16       under Section 227.3, and summary judgment should be granted as to Plaintiffs’
                17       First Cause of Action.
                18                D.      Plaintiffs’ Second Cause of Action Fails
                19                Plaintiffs’ Second Cause of Action alleges Best Buy failed to pay wages to
                20       Plaintiffs upon their termination. Plaintiffs plead that, upon termination, Best Buy
                21       “willfully failed to pay Plaintiffs . . . their unused floating holiday compensation.”
                22       SAC ¶ 30. This claim is derivative of Plaintiffs’ other causes of action because it is
                23       premised on the theory that the Scheduling Memo provided Plaintiffs with “floating
                24       holidays” or “vacation” under Section 227.3, and Best Buy failed to pay Plaintiffs
                25       “compensation for unused floating holidays.” See SAC ¶¶ 20, 22, 30. Accordingly,
                26       it fails for the same reasons as Plaintiffs’ First Cause of Action.
                27                In addition, Karrer’s claim for failure to pay wages upon employment
                28       termination fails for the separate and distinct reason that his employment has not
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                    1    terminated. UF 36. Thus, he cannot have a claim for failure to pay wages upon
                    2    employment termination.
                    3             Finally, Plaintiffs’ Second Cause of Action fails for the separate and distinct
                    4    reason that a good faith dispute exists regarding whether the Scheduling Memo,
                    5    even if it created an obligation to Plaintiffs, constitutes “vacation” that cannot be
                    6    forfeited upon employment termination. In order to recover waiting time penalties
                    7    under California Labor Code Section 203 (“Section 203”), the Court must find that
                    8    Best Buy “willfully” failed to pay Plaintiffs their wages upon their separation from
                    9    employment. Cal. Lab. Code § 203. An employer, however, is not liable for
                10       waiting time penalties when a “good faith dispute” exists over the payment of past
                11       wages. See Cal. Code Regs. tit. 8, § 13520; see also Smith v. Rae-Venter Law
                12       Group, 29 Cal. 4th 345, 354, n.3, 4 (2002) (holding that good faith dispute negated
                13       claim for waiting time penalties), superseded by statute on other grounds as stated
                14       in Sampson v. Parking Service 2000 Com, Inc., 117 Cal. App. 4th 212, 220 n.8
                15       (2004); Armenta v. Osmose, Inc., 135 Cal. App. 4th 314, 325 (2005) (“A good faith
                16       belief in a legal defense will preclude a finding of willfulness.”); Nordstrom
                17       Commission Cases, 186 Cal. App. 4th 576, 584 (2010) (“There is no willful failure
                18       to pay wages if the employer and employee have a good faith dispute as to whether
                19       and when the wages were due.”).
                20                A “good faith dispute” occurs when “an employer presents a defense, based
                21       in law or fact which, if successful, would preclude any recovery on the part of the
                22       employee.” Cal. Code Regs. tit. 8, § 13520. Whether the defense ultimately is
                23       successful is inconsequential. Id.; see FEI Enterprises, Inc. v. Kee Man Yoon, 194
                24       Cal. App. 4th 790, 802 (2011) (“A ‘good faith dispute’ that any wages are due
                25       occurs when an employer presents a defense, based in law or fact which, if
                26       successful, would preclude any recovery on the part of the employee. The fact that
                27       a defense is ultimately unsuccessful will not preclude a finding that a good faith
                28       dispute did exist.”).
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                    1             As discussed above, Best Buy presents the defenses that the Scheduling
                    2    Memo is not a contract and even if it was, it does not provide “vacation” under
                    3    Section 227.3. Consequently, even if Plaintiffs could somehow demonstrate that
                    4    the Scheduling Memo entitles them to “wages” (which they cannot), they cannot
                    5    recover waiting time penalties as a matter of law.5 Accordingly, Plaintiffs’ Second
                    6    Cause of Action for penalties pursuant to Section 203 fails.
                    7             E.      Summary Judgment Should Be Granted As to Plaintiffs’ Third
                    8                     Cause of Action for Violation of Section 227.3
                    9             Plaintiffs’ Third Cause of Action is an express claim under Section 227.3 in
                10       which they allege that Best Buy’s Scheduling Memo was a vacation policy that
                11       violated Section 227.3 because it allegedly forfeited “vested vacation time.” See
                12       SAC ¶¶ 37-39. As discussed above, this claim fails for two separate and distinct
                13       reasons. First, Section 227.3 requires the existence of a contract, and the
                14       Scheduling Memo cannot constitute a contract. Second, as described in Section
                15       IV.C.2 above, even if the Scheduling Memo is considered to be a contract, it does
                16       not provide “vacation” under Section 227.3 because the time off provided is
                17       expressly conditioned upon the occurrence of specific California and Federal
                18       holidays.
                19                Section 227.3 states that vacation as provided by a “contract of employment
                20       or employer policy” cannot be forfeited. As described in Section IV.B above, the
                21       Scheduling Memo cannot be a contract of employment with Plaintiffs because it
                22       was never offered to Plaintiffs before they worked on a designated holiday and they
                23       never knew about and therefore could not have accepted the terms of the
                24       Scheduling Memo. Moreover, the Scheduling Memo cannot constitute a “policy”
                25       with respect to Plaintiffs because it was never distributed to them, they never relied
                26
                         5
                27         As discussed below, summary judgment must be granted as to Karrer because he
                         is a current employee, and Section 203 penalties are available only to “an employee
                28       who is discharged or who quits.” Cal. Lab. Code § 203.
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                    1    on it, it was never part of their employment agreement, and Plaintiffs are unaware
                    2    of any store following the guidelines set forth in the Scheduling Memo. See UF 11-
                    3    17, 37. Cf. Guz v. Bechtel Nat., Inc., 24 Cal. 4th, 317, 344 (“formal personnel
                    4    policies and procedures in handbooks, manuals and memoranda disseminated to
                    5    employees” are generally enforceable); Foley, 47 Cal. 3d at 682 (“employer[s] [are]
                    6    bound by published ‘Policies and Procedures’” citing to Morris v. Lutheran
                    7    Medical Center, 215 Neb. 677 (1983)); but see Hepp v. Lockheed-California Co.,
                    8    86 Cal.App.3d 714, 719 (1978) (unwritten but “well established” policy regulating
                    9    rehiring of employees laid off for lack of work is enforceable).
                10                As described in Section IV.C.2 above, Section 227.3 has no application to the
                11       benefit described by the Scheduling Memo. The described benefit does not depend
                12       on the length of a manager’s employment and it is specifically conditioned upon the
                13       occurrence of a specific event (a company-designated holiday). Thus, the policy
                14       cannot constitute vacation under Section 227.3. See Paton, 197 Cal. App. 4th at
                15       1519.
                16                Summary judgment should therefore be granted as to Plaintiffs’ Third Cause
                17       of Action.
                18                F.      Plaintiffs’ Fifth Cause of Action Under California’s Unfair
                19                        Competition Law Should Be Dismissed As Derivative
                20                Plaintiffs’ Fifth Cause of Action is for unfair competition under California
                21       Business and Professions Code Section 17200 et seq. This claim depends entirely
                22       on Plaintiffs’ First, Second, and Third Causes of Action. See SAC ¶ 50 (“Best Buy
                23       has engaged in unfair and unlawful practices by failing to pay Plaintiffs … all
                24       wages owed to them and for maintaining a floating holiday policy that includes a
                25       forfeiture provision . . . .”). Because Plaintiffs’ underlying claims under Section
                26       227.3 fail, Plaintiffs’ unfair competition claim must fail. See, e.g.,
                27       Prachasaisoradej v. Ralph’s Grocery Co., 42 Cal. 4th 217, 244 (2007) (holding that
                28       derivative unfair competition claim fails with underlying claim); Rubin v. Wal-Mart
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                    1    Stores, Inc., 599 F. Supp. 2d 1176, 1179 (N.D. Cal. 2009) (holding that where
                    2    claims for violations of the California Labor Code failed, derivative claim for unfair
                    3    competition also failed); Krantz v. BT Visual Images, LLC, 89 Cal. App. 4th 164,
                    4    178 (2001) (holding that where unfair competition claim was dependent of other
                    5    claims, the unfair competition claim must be dismissed when the other claims are
                    6    dismissed); Van Ness v. Blue Cross, 87 Cal. App. 4th 364, 371 (2001) (dismissal of
                    7    fraud claims resulted in dismissal of unfair competition claim). Accordingly,
                    8    Plaintiffs’ Fifth Cause of Action also must be dismissed because it is entirely
                    9    dependent on their other untenable claims.
                10                G.      Plaintiffs’ Sixth Cause of Action Under PAGA Should Be
                11                        Dismissed
                12                Plaintiffs’ PAGA claim similarly depends entirely on a finding that
                13       Plaintiffs’ First, Second, and Third Causes of Action survive. See Arias v. Superior
                14       Ct., 46 Cal. 4th 969, 986-87 (Cal. Ct. App. 2009) (recovery under PAGA requires
                15       proof of a Labor Code violation). Because these causes of action fail as a matter of
                16       law, Best Buy is entitled to summary judgment on Plaintiffs’ PAGA claim as well.
                17                H.      Summary Judgment Should Be Granted on All of Karrer’s Labor
                18                        Code Claims
                19                Section 227.3 provides that an employee has the right to be paid for unused
                20       vacation only after the “employee is terminated without having taken off his
                21       vested vacation time.” Cal. Lab. Code § 227.3 (emphasis added). “Thus,
                22       termination of employment is the event that converts the employer’s obligation to
                23       allow an employee to take vacation from work into the monetary obligation to pay
                24       that employee for unused vested vacation time. Consequently, [a plaintiff’s] cause
                25       of action to enforce his statutory right to be paid for vested vacation [does] not
                26       accrue until the date his employment [is] terminated. [If a plaintiff files] a cause
                27       of action seeking payment for unused vested vacation before his employment with
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                    1    [his employer] ended, that cause of action [will be] dismissed as premature.”
                    2    Church v. Jamison, 143 Cal. App. 4th 1568, 1576-77 (2006) (emphasis added).
                    3             Because Karrer is a current employee and was never terminated during the
                    4    class period (UF 36), Best Buy could not have violated Section 227.3 with respect
                    5    to Karrer. As discussed above, Karrer’s First, Second, Third, Fifth, and Sixth
                    6    Causes of Action are expressly based on or derivative of Best Buy’s supposed
                    7    violation of Section 227.3. See SAC ¶¶ 20, 22, 28-30, 37-39, 50, 94. Accordingly,
                    8    summary judgment should be granted as to Karrer’s First, Second, Third, Fifth, and
                    9    Sixth Causes of Action.
                10       V.       CONCLUSION
                11                For the foregoing reasons, Best Buy respectfully requests that the Court grant
                12       its motion for summary judgment and dismiss all of the claims in Plaintiffs’ SAC
                13       or, in the alternative, grant partial summary judgment of Plaintiffs’ claims.
                14
                         Dated:           March 16, 2012                MORGAN, LEWIS & BOCKIUS LLP
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                16                                                      By /s/ Barbara J. Miller
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